          Case 1:17-cv-04042-VSB Document 13 Filed 10/17/17 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

                                                       )
 EDWARD ETELMENDORF, Derivatively on                   ) Index No: 1:17-CV-04042-UA
 Behalf of OPHTHOTECH CORPORATION.,                    )
                                                       )
                Plaintiffs,                            )
                                                       )
        vs.                                            )
                                                       )
 AXEL BOLTE, THOMAS DYRBERG,                           )
 DAVID R. GUYER, DAVID REDLICK,                        )
 MICHAEL ROSS, and GLENN P.                            )
 SBLENDORIO,                                           )
                                                       )
                 Defendants,                           )
                                                       )
        and,                                           )
                                                       )
 OPHTHOTECH CORPORATION.,                              )
                                                       )
                Nominal Defendant.                     )
                                                       )
                                                       )
                                                       )
                                                       )

                              NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that Plaintiff Edward Etelmendorf files this notice of voluntary

dismissal without prejudice pursuant to Federal Rule of Civil Procedure 41. Defendants have not

filed an Answer or moved for summary judgment. No compensation has been rendered to Plaintiff

in return for this dismissal. Plaintiff have not previously dismissed an action based on or including

the same claims as presented in this instant action.


Dated: October 17, 2017
Case 1:17-cv-04042-VSB Document 13 Filed 10/17/17 Page 2 of 3




                           GAINEY McKENNA & EGLESTON


                           By: /s/ Thomas J. McKenna
                               Thomas J. McKenna
                           Gregory M. Egleston
                           440 Park Avenue South
                           New York, NY 10016
                           Telephone: (212) 983-1300
                           Facsimile: (212) 983-0383
                           Email: tjmckenna@gme-law.com
                           Email: gegleston@gme-law.com

                           Attorneys for Plaintiff




                              2
         Case 1:17-cv-04042-VSB Document 13 Filed 10/17/17 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 17, 2017, a copy of the foregoing document was

filed electronically. Notice of this filing will be sent to counsel of record by operation of the

Court’s electronic filing system.



                                                           /s/ Thomas J. McKenna
                                                             Thomas J. McKenna




                                               3
